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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


AHZAR SAIYED, Individually and as                )
Administrator of the Estate of                   )
MIKAZNAAZ SAIYED, deceased                       )
and as Father and Next Friend of                 )
HOORAYN SAIYED, a Minor                          )
                                                 )
              Plaintiffs                         ) 1:20−cv−05524
                                                 )
                                                 )
              V.                                 )
                                                 )
UNITED STATES OF AMERICA,                        )
SWEDISH COVENANT HOSPITAL,                       )
SWEDISH COVENANT HEALTH,                         )
SWEDISH COVENANT MANAGEMENT,                     )
SERVICES, INC.                                   )
                                                 )
              Defendants.                        )



                      PLAINTIFF’S AMENDED COMPLAINT AT LAW

       Plaintiff, AZHAR SAIYED, Individually and as Administrator of the Estate of

MIKAZNAAZ SAIYED, deceased and as Father and Next Friend of HOORAYN SAIYED, a

Minor, and complaining against the Defendant, UNITED STATES of AMERICA, SWEDISH

COVENANT HOSPITAL, SWEDISH COVENANT HEALTH, AND SWEDISH COVENANT

MANAGEMENT SERVICES, INC. states as follows:

                            FACTS COMMON TO ALL COUNTS

        1.         Plaintiff, AZHAR SAIYED has been appointed the Independent Administrator

of the Estate of MIKAZNAAZ SAIYED, deceased, by the Circuit Court of the COOK COUNTY,

State of Illinois. (See Exhibit A.)




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       2.      At all times pertinent, SWEDISH COVENANT HOSPITAL, through its agents,

servants, and employees, owned, operated, maintained, and controlled a certain hospital, where it

made facilities available to persons in need of medical treatment and surgical procedures.

       3.      At all times pertinent, SWEDISH COVENANT HOSPITAL was an Illinois

corporation doing business in the County of Cook, State of Illinois.

       4.      At all times pertinent, SWEDISH COVENANT HEALTH, through its agents,

servants, and employees, owned, operated, maintained, and controlled a certain hospital,where it

made facilities available to persons in need of medical treatment and surgical procedures.

       5.      At all times pertinent, SWEDISH COVENANT HEALTH was an Illinois

corporation doing business in the County of Cook, State of Illinois.

       6.      At all times pertinent, SWEDISH COVENANT MANAGEMENT SERVICES,

INC. through its agents, apparent agents, servants, and employees, owned, operated, maintained,

and controlled a certain hospital, where it made facilities available to persons in need of medical

treatment and surgical procedures.

       7.      At all times pertinent, SWEDISH COVENANT MANAGEMENT SERVICES,

INC. was an Illinois corporation doing business in the County of Cook, State of Illinois.

       8.      Swedish Covenant Health manages and/or operates SWEDISH COVENANT

HOSPITAL.

       9.      SWEDISH COVENANT HEALTH owns in whole or in part SWEDISH

COVENANT HOSPITAL.




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       10.     SWEDISH COVENANT HEALTH has officers/managers in common with

SWEDISH COVENANT HOSPITAL.

       11.     SWEDISH COVENANT HEALTH manages and/or operates SWEDISH

COVENANT MANAGEMENT SERVICES, INC.

       12.     SWEDISH COVENANT HEALTH has officers/managers in common with

SWEDISH MANAGEMENT SERVICES, INC.

       13.     On May 29, 2019, MIKAZNAAZ SAIYED was admitted to SWEDISH

COVENANT HOSPITAL for induction of labor and delivery of her daughter, HOORAYN

SAIYED.

       14.     On May 29, 2019, MIKAZNAAZ SAIYED was admitted to SWEDISH

COVENANT HEALTH for induction of labor and delivery of her daughter, HOORAYN

SAIYED.

       15.     While a patient at SWEDISH COVENANT HEALTH, MIKAZNAAZ SAIYED

came under the care of physician, SARAH LAMBETH, M.D, thereby establishing a physician-

patient relationship.

       16.     While a patient at SWEDISH COVENANT HEALTH, MIKAZNAAZ SAIYED

came under care of CARLY BENDZANS, R.N, a nursing midwife, therebyestablishing a nursing-

patient relationship.

       17.     While a patient AT SWEDISH COVENANT HOSPITAL,               MIKAZNAAZ

SAIYED came under the care of physician, SARAH LAMBETH, M.D, thereby establishing a

physician-patient relationship.




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        18.     While a patient at SWEDISH COVENANT HOSPITAL, MIKAZNAAZ SAIYED

 came under care of CARLY BENDZANS, R.N, a nursing midwife, thereby establishing a nursing-

 patient relationship.

        19.     At all times relevant to this Complaint, SARAH LAMBETH, M.D. was an

 employee or agent of Defendant UNITED STATES OF AMERICA.

        20.     At all times relevant to this Complaint, SARAH LAMBETH, M.D. was an apparent

 agent of Defendant UNITED STATES OF AMERICA

        21.     At all times relevant to this Complaint, CARLY BENDZANS, R.N. was an

 employee or agent of Defendant UNITED STATES OF AMERICA.

        22.     At all times relevant to this Complaint, CARLY BENDZANS, R.N. was an

 apparent agent of Defendant UNITED STATES OF AMERICA.

       23.     At all times relevant to this Complaint, SWEDISH COVENANT HEALTH, through

its employees, agents, and/or apparent agents including but not limited to physicians, doctors,

nurses, nursing aides, midwives, techs, assistants, and/or staff provided care of and to

MIKAZNAAZ SAIYED and HOORAYN SAIYED at or near the time of the induction of labor

and delivery of HOORAYN SAIYED.

        24.     At all times relevant to this Complaint, Swedish Covenant Hospital, through its

 employees, agents, and/or apparent agents including but not limited to physicians, doctors, nurses,

 nursing aides, midwives, techs, assistants, and/or staff provided care of and to MIKAZNAAZ

 SAIYED and HOORAYN SAIYED at or near the time of the induction of labor and delivery of

 HOORAYN SAIYED.




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        25.     At all times relevant to this Complaint, SWEDISH COVENANT MANAGEMENT

SERVICES, Inc., through its employees, agents, and/or apparent agents including but not limited

to physicians, doctors, nurses, nursing aides, midwives, techs, assistants, and/or staff provided

care of and to MIKAZNAAZ SAIYED and HOORAYN SAIYED at or near the time of the

induction of labor and delivery of HOORAYN SAIYED.

        26.     On May 29, 2019 and/or May 30, 2019 MIKAZNAAZ SAIYED was given drugs

to induce and hasten labor.

        27.     On May 29, 2019 and/or May 30, 2019 MIKAZNAAZ SAIYED experienced

abnormal uterine contractions.

        28.     On May 29, 2019 and/or May 30, 2019 HOORAYN SAIYED demonstrated fetal

intolerance to labor and or fetal distress.

        29.     On May 29, 2019 and/or May 30, 2019 MIKAZNAAZ SAIYED and according to

the defendant’s medical record allegedly suffered from an amniotic fluid embolism.

        30.     On May 29, 2019 and/or May 30, 2019 MIKAZNAAZ SAIYED was operated via

an emergency cesarean section to deliver HOORAYN SAIYED.

      31.     Just prior to and/or during delivery HOORAYN SAIYED suffered a brain injury and

sequelae therefrom.

        32.     On May 30, 2019, MIKAZNAAZ SAIYED was transferred from the SWEDISH

COVENANT facilities to another facility where she eventually died on June 2, 2019

        33.     This Court has jurisdiction of the action pursuant to 28 U.S.C.A. §§ 1331, 1346(b)

and 2671, et seq. This Court has jurisdiction over the claims against the Swedish Covenant

Defendants pursuant to 28 U.S. Code § 1367.

        34.     Venue is proper in this Court under 28 U.S.C. §1391(b) because all incidents,

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events, and occurrences giving rise to this action occurred in the Northern District of Illinois.

Moreover, upon information and belief, all parties resides in this judicial district or resided in

this judicial district at the time these events took place.

                                   COUNT I – SURVIVAL ACTION
                                       MIKAZNAAZ SAIYED
                                   UNITED STATES OF AMERICA


                1-34. Paragraphs 1 through 34 of this Complaint at Law are hereby incorporated

  by reference as if they were fully set forth herein as paragraphs 1 through 34 of Count I.

      35.        At all times pertinent to this Complaint, Defendant, UNITED STATES OF

   AMERICA, through its employees, agents, or apparent agents including but not limited to

   CARLY BENDZANS, R.N. and SARAH LAMBETH, M.D. were under certain duties imposed

   by law.

      36.        At all times pertinent to this Complaint, Defendant, UNITED STATES OF

AMERICA, through its employees, agents, or apparent agents including but not limited to CARLY

BENDZANS, R.N., and SARAH LAMBETH, M.D were negligent in the care and treatment of

Plaintiff’s decedent in one or more of the following respects:


            a. Failed to properly and/or timely monitor the Plaintiff;

            b. Failed to properly and/or timely physically examine the Plaintiff;

            c. Improperly prescribed and used medications used to induce and hasten labor;

            d. Failed to properly and timely discontinue medications used to induce and hasten
               labor;

            e. Improperly supervised the administration of medications used to induce and hasten
               labor;

            f. Failed to properly supervise the labor;


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    g. Failed to properly and timely respond to uterine/labor abnormalities:

    h. Failed to properly and/or timely respond to fetal intolerance/distress;

    i. Failed to properly and/or timely respond to non-reassuring fetal heart tracings;

    j. Failed to appreciate and/or respond to the dangers of non-reassuring fetal heart
       tracings;

    k. Failed to properly and/or timely treat the Plaintiff;

    l. Failed to properly and/or timely respond to the Plaintiff’s condition, findings and
       tests;

    m. Failed to properly and/or timely communicate with other medical professionals or
       staff;

    n. Failed to order proper tests or studies,

    o. Failed to obtain proper and/or timely consultations;

    p. Improperly allowed a nursing midwife to direct and supervise this labor;

    q. Failed to develop, promulgate, institute, or enforce rules, guidelines or policies and
       procedures with respect to care and management of patients undergoing labor and
       delivery;

    r. Failed to develop, promulgate, institute, or enforce safe and proper rules, guidelines
       or policies and procedures with respect to care and management of patients with
       abnormal and/or prolonged labor;

    s. Failed to provide an obstetrician for the Plaintiff’s decedent to physically direct and
       supervise her labor;

    t. Failed to supervise, direct, or oversee its employees, agents, or apparent agents
       during labor and delivery;

    u. Entrusted the care and treatment of decedent to incompetent, inadequately trained
       and/or unskilled nurses and/physicians;

    v. Failed to properly investigate and determine the competence, training and/or skill of
       members of its nursing and physician staff;

    w. Failed to provide competent and capable nursing and professional care and services
       to Plaintiff;

    x. Was otherwise careless and negligent;

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               37. That as a direct and proximate cause of one or more of the foregoing acts of negligence

    of Defendant, UNITED STATES OF AMERICA, through its employees, agents, or apparent

    agents including but not limited to CARLY BENDZANS, R.N. and SARAH LAMBETH, M.D.,

    Plaintiff’s decedent, MIKAZNAAZ SAIYED, suffered injury which caused her disability, loss of

    normal life, disfigurement, pain, mental anguish, suffering and caused her to incur medical

    expenses, be absent from her employment and aggravated her underlying condition, all to her

    damage.

               38.    Attached hereto and made a part hereof is Plaintiff’s medical report pursuant to

Section 2-622 of the Illinois Code of Civil Procedure. (Exhibit B)

               39.    On October 15, 2020, Plaintiff’s counsel forwarded to the U.S. Department of

Health and Human Services Via Certified Mail and Fedex Plaintiff’s Claim Form 95 with Exhibits.

               40.    On April 6, 2021, Plaintiff’s counsel received a letter from the U.S. Department of

Health and Human Services denying Plaintiff’s Claim Form 95 with Exhibits.

               41.    As such, Plaintiff has now exhausted his administrative remedies under the Federal

Torts Claims Act and in accordance with Judge Dow’s Order, dismissing this matter against the United

States without prejudice, this matter is now ripe for filing against the UNITED STATES of AMERICA.

(Exhibit C).

               WHEREFORE, Plaintiff, MIKAZNAAZ SAIYED, prays for judgment against the Defendants,

    UNITED STATES OF AMERICA in an amount in excess of $75,000 plus costs.




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                                   COUNT II - WRONGFUL DEATH
                                      MIKAZNAAZ SAIYED
                                   UNITED STATES OF AMERICA

       1-39.    Paragraphs 1-41 of Count I are hereby incorporated by reference as if they were

fully set forth herein as Paragraphs 1-41 of Count II.

    40.          As a direct and proximate cause of the aforementioned acts of negligence on the

part of the Defendants, UNITED STATES OF AMERICA., through its employees, agents, and/or

apparent agents including but not limited SARAH LAMBETH, M.D., and CARLY BENDZANS

R.N. Plaintiff’s decedent, MIKAZNAAZ SAIYED, suffered severe, painful, disabling and

permanent injuries to her person, which ultimately resulted in her death on June 2, 2019.

    42.          At the aforementioned time, there was, in full force and effect, the Illinois Wrongful

Death Act. 740 ILCS 180/1 (WEST 2008).

    43.         That Plaintiff’s decedent, left surviving the following heirs-at-law who have

sustained pecuniary injury as a result of the decedent’s untimely death, including but not limited to

loss of money, goods, services, society, and support, and further has caused them grief, sorrow,

mental anguish, and loss of consortium.

             a. Azhar Saiyed
             b. Muhammad Saiyed
             c. Hoorayn Saiyed

    44.     Attached hereto and made a part hereof is Plaintiff’s medical report pursuant to

    Section 2-622 of the Illinois Code of Civil Procedure. (Exhibit B)


          WHEREFORE, AZHAR SAIYED, as Independent Administrator of the Estate of

MIKAZNAAZ SAIYED, deceased, prays for judgment in his favor and against Defendant,

UNITED STATES OF AMERICA in an amount in excess of $75,000 plus costs.

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                                COUNT III - NEGLIGENCE
                                   HOORAYN SAIYED
                                UNITED STATES OF AMERICA

      1-34. Paragraphs 1 through 34 of this Complaint at Law are hereby incorporated by

reference herein as if they were fully set forth herein as paragraphs 1 through 34 of Count III.

          35. At all times pertinent to this Complaint, Defendant, UNITED STATES OF

AMERICA through its employees, agents, or apparent agents including but not limited to CARLY

BENDZANS, R.N. and SARAH LAMBETH, M.D. was under certain duties imposed by law.

          36. At all times pertinent to this Complaint, Defendant, UNITED STATES OF

  AMERICA through its employees, agents, or apparent agents including but not limited to

  CARLY BENDZANS, R.N. and SARAH LAMBETH, M.D. was negligent in the care and

  treatment of HOORAYN SAIYED in one or more of the following respects:

         a. Failed to properly and/or timely monitor the Plaintiff;

         b. Failed to properly and/or timely physically examine the Plaintiff;

         c. Improperly prescribed and used medications used to induce and hasten labor;

         d. Failed to properly and timely discontinue medications used to induce and hasten
            labor;

         e. Improperly supervised the administration of medications used to induce and hasten
            labor;

         f. Failed to properly supervise the labor;

         g. Failed to properly and timely respond to uterine/labor abnormalities:

         h. Failed to properly and/or timely respond to fetal intolerance/distress;

         i. Failed to properly and/or timely respond to non-reassuring fetal heart tracings;

         j. Failed to appreciate and/or respond to the dangers of non-reassuring fetal heart
            tracings;

         k. Failed to properly and/or timely treat the Plaintiff;


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     l. Failed to properly and/or timely respond to the Plaintiff’s condition, findings and
        tests;

     m. Failed to properly and/or timely communicate with other medical professionals or
        staff;

     n. Failed to order proper tests or studies,

     o. Failed to obtain proper and/or timely consultations;

     p. Improperly allowed a nursing midwife to direct and supervise this labor;

     q. Failed to develop, promulgate, institute, or enforce rules, guidelines or policies and
        procedures with respect to care and management of patients undergoing labor and
        delivery;

     r. Failed to develop, promulgate, institute, or enforce safe and proper rules, guidelines
        or policies and procedures with respect to care and management of patients with
        abnormal and/or prolonged labor;

     s. Failed to provide an obstetrician for the Plaintiff’ decedent to physically direct and
        supervise her labor;

     t. Failed to supervise, direct, or oversee its employees, agents, or apparent agents
        during labor and delivery;

     u. Entrusted the care and treatment of decedent to incompetent, inadequately trained
        and/or unskilled nurses and/physicians;

     v. Failed to properly investigate and determine the competence, training and/or skill of
        members of its nursing and physician staff;

     w. Failed to provide competent and capable nursing and professional care and services
        to Plaintiff;

     x. Was otherwise careless and negligent;


     37.   That as a direct and proximate cause of one or more of the foregoing acts of

negligence of Defendant, UNITED STATES OF AMERICA, through its employees, agents,

or apparent agents including but not limited to CARLY BENDZANS, R.N. and SARAH

LAMBETH, M.D., HOORAYN SAIYED, suffered severe and permanent injuries which have

caused great pain and suffering, disability, disfigurement, mental anguish, and loss ofa normal
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     life and will interfere with her ability in the future to obtain gainful employment and hasforced

     her, and will continue to force her, to incur medical expenses.

      38.      Attached hereto and made a part hereof is Plaintiff’s medical report pursuant to

Section 2-622 of the Illinois Code of Civil Procedure. (Exhibit B)

       39.    On October 15, 2020, Plaintiff’s counsel forwarded to the U.S. Department of Health

              and Human Services Via Certified Mail and Fedex Plaintiff’s Claim Form 95 with

              Exhibits.

       40.      On April 6, 2021, Plaintiff’s counsel received a letter from the U.S. Department of

Health and Human Services denying Plaintiff’s Claim Form 95 with Exhibits.

       41.      As such, Plaintiff has now exhausted his administrative remedies under the Federal

Torts Claims Act and in accordance with Judge Dow’s Order, dismissing this matter against the

United States without prejudice, this matter is now ripe for filing. (Exhibit C).

       WHEREFORE, Plaintiff, AZHAR SAIYED, as Next Friend and Father of HOORAYN

   SAIYED, prays for judgment against the Defendant, UNITED STATES OF AMERICA in an amount

   in excess of $75,000 plus costs.


                               COUNT IV – SURVIVAL ACTION
                                  MIKAZNAAZ SAIYED
                  SWEDISH COVENANT HEALTH, SWEDISH COVENANT HOSPITAL,
                      SWEDISH COVENANT MANAGEMENT SERVICES, INC.

            1-34. Paragraphs 1 through 34 of this Complaint at Law are hereby incorporated by

   reference herein as if they were fully set forth herein as paragraphs 1 through 34 of Count IV.

             35. At all times pertinent to this Complaint, the Swedish Covenant Defendants

SWEDISH COVENANT HEALTH, SWEDISH COVENANT HOSPITAL, SWEDISH

COVENANT MANAGEMENT SERVICES, INC., through their employees, agents, or apparent

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agents including but not limited to physicians, doctors, nurses, nursing aides, midwives, techs,

assistants, and/or staff were under certain duties imposed by law.

           36. At all times pertinent to this Complaint, the SWEDISH COVENANT

DEFENDANTS, SWEDISH COVENANT HEALTH, SWEDISH COVENANT HOSPITAL,

SWEDISH COVENANT MANAGEMENT SERVICES, INC., through their employees, agents, or

apparent agents including but not limited to physicians, doctors, nurses, nursing aides, midwives,

techs, assistants, and/or staff were negligent in the care and treatment of Plaintiff’s decedent in one

or more of the following respects:


           a. Failed to properly and/or timely monitor the Plaintiff;

           b. Failed to properly and/or timely physically examine the Plaintiff;

           c. Improperly prescribed and used medications used to induce and hasten labor;

           d. Failed to properly and timely discontinue medications used to induce and hasten
              labor;

           e. Improperly supervised the administration of medications used to induce and hasten
              labor;

           f. Failed to properly supervise the labor;

           g. Failed to properly and timely respond to uterine/labor abnormalities:

           h. Failed to properly and/or timely respond to fetal intolerance/distress;

           i. Failed to properly and/or timely respond to non-reassuring fetal heart tracings;

           j. Failed to appreciate and/or respond to the dangers of non-reassuring fetal heart
              tracings;

           k. Failed to properly and/or timely treat the Plaintiff;

           l. Failed to properly and/or timely respond to the Plaintiff’s condition, findings and
              tests;

           m. Failed to properly and/or timely communicate with other medical professionals or
              staff;

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          n. Failed to order proper tests or studies,

          o. Failed to obtain proper and/or timely consultations;

          p. Improperly allowed a nursing midwife to direct and supervise this labor;

          q. Failed to develop, promulgate, institute, or enforce rules, guidelines or policies and
             procedures with respect to care and management of patients undergoing labor and
             delivery;

          r. Failed to develop, promulgate, institute, or enforce safe and proper rules, guidelines
             or policies and procedures with respect to care and management of patients with
             abnormal and/or prolonged labor;

          s. Failed to provide an obstetrician for the Plaintiff’ decedent to physically direct and
             supervise her labor;

          t. Improperly allowed a nursing midwife to the Plaintiff to physically direct and
             supervise her labor;

          u. Failed to supervise, direct, or oversee its employees, agents, or apparent agents
             during labor and delivery;

          v. Entrusted the care and treatment of decedent to incompetent, inadequately trained
             and/or unskilled nurses and/physicians;

          w. Failed to properly investigate and determine the competence, training and/or skill of
             members of its nursing and physician staff;

          x. Failed to provide competent and capable nursing and professional care and services
             to Plaintiff;

           37.    That as a direct and proximate cause of one or more of the foregoing acts of

negligence of the SWEDISH COVENANT Defendants, SWEDISH COVENANT HEALTH,

SWEDISH COVENANT HOSPITAL, SWEDISH COVENANT MANAGEMENT SERVICES,

INC, through their employees, agents, or apparent agents including but not limited to physicians,

doctors, nurses, nursing aides, midwives, techs, assistants, and/or staff, Plaintiff’s decedent,

MIKAZNAAZ SAIYED, suffered injury which caused her disability, loss of normal life,

disfigurement, pain, mental anguish, suffering and caused her to incur medical expenses, be absent

from her employment and aggravated her underlyingcondition, all to her damage.
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         WHEREFORE, Plaintiff, MIKAZNAAZ SAIYED, prays for judgment against the SWEDISH

COVENANT Defendants, SWEDISH COVENANT HEALTH, SWEDISH COVENANT HOSPITAL,

SWEDISH COVENANT MANAGEMENT SERVICES, INC., in an amount in excess of $75,000 plus

costs.

                                  COUNT V - WRONGFUL DEATH
                                     MIKAZNAAZ SAIYED
                     SWEDISH COVENANT HEALTH, SWEDISH COVENANT HOSPITAL,
                         SWEDISH COVENANT MANAGEMENT SERVICES, INC.


         1-         36.   Paragraphs 1-36 of Count IV are hereby incorporated by reference herein as

 ifthey were fully set forth herein as Paragraphs 1-36 of Count V.

              37.    As a direct and proximate cause of the aforementioned acts of negligence on the

 part of the Defendants, SWEDISH COVENANT HEALTH, SWEDISH COVENANT

 HOSPITAL, SWEDISH COVENANT MANAGEMENT SERVICES, INC., through their

 employees, agents, or apparent agents including but not limited physicians, doctors, nurses,

 nursing aides, midwives, techs, assistants, and/or staff, Plaintiff’s decedent, MIKAZNAAZ SAIYED,

 suffered severe, painful, disabling and permanent injuries to her person, which ultimately resulted in her

 death on June 2, 2019.

              38. At the aforementioned time, there was, in full force and effect, the Illinois Wrongful

 Death Act. 740 ILCS 180/1 (WEST 2008).

           39.      That Plaintiff’s decedent, left surviving her the following heirs-at-law who have

 sustained pecuniary injury as a result of the decedent’s untimely death, including but not limitedto

 loss of money, goods, services, society, and support, and further has caused them grief, sorrow,

 mental anguish, and loss of consortium.




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                 a. Azhar Saiyed
                 b. Muhammad Saiyed
                c. Hoorayn Saiyed




       WHEREFORE, AZHAR SAIYED, as Independent Administrator of the Estate of

MIKAZNAAZ SAIYED, deceased, prays for judgment in his favor and against Defendants,

SWEDISH COVENANT HEALTH, SWEDISH COVENANT HOSPITAL, SWEDISH

COVENANT MANAGEMENT SERVICES, INC., and each of them, in an amount in excess of

$75,000 plus costs.



                    COUNT VI - NEGLIGENCE
                       HOORAYN SAIYED
  SWEDISH COVENANT HEALTH, SWEDISH COVENANT HOSPITAL, and SWEDISH
               COVENANT MANAGEMENT SERVICES, INC.


       1-34. Paragraphs 1 through 34 of this Complaint at Law are hereby incorporated by

reference herein as if they were fully set forth herein as paragraphs 1 through 34 of Count VI.


       35.    At all times pertinent to this Complaint, D e f e n d a n t s          SWEDISH

COVENANT HEALTH, SWEDISH COVENANT HOSPITAL, SWEDISH COVENANT

MANAGEMENT SERVICES, INC., through their employees, agents, or apparent agents

including but not limited to physicians, doctors, nurses, nursing aides, midwives, techs,

assistants, and/or staff, were under certain duties imposed by law.

         41. At all times pertinent to this Complaint, Defendants SWEDISH COVENANT

HEALTH, SWEDISH COVENANT HOSPITAL, SWEDISH COVENANT MANAGEMENT

SERVICES, INC., through their employees, agents, or apparent agents including but not limited

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to physicians, doctors, nurses, nursing aides, midwives, techs, assistants, and/or staff, were

negligent in the care and treatment of HOORAYN SAIYED in one or more of the following

respects:

            a. Failed to properly and/or timely monitor the Plaintiff;

            b. Failed to properly and/or timely physically examine the Plaintiff;

            c. Improperly prescribed and used medications used to induce and hasten labor;

            d. Failed to properly and timely discontinue medications used to induce and hasten
               labor;

            e. Improperly supervised the administration of medications used to induce and hasten
               labor;

            f. Failed to properly supervise the labor;

            g. Failed to properly and timely respond to uterine/labor abnormalities:

            h. Failed to properly and/or timely respond to fetal intolerance/distress;

            i. Failed to properly and/or timely respond to non-reassuring fetal heart tracings;

            j. Failed to appreciate and/or respond to the dangers of non-reassuring fetal heart
               tracings;

            k. Failed to properly and/or timely treat the Plaintiff;

            l. Failed to properly and/or timely respond to the Plaintiff’s condition, findings and
               tests;

            m. Failed to properly and/or timely communicate with other medical professionals or
               staff;

            n. Failed to order proper tests or studies,

            o. Failed to obtain proper and/or timely consultations;

            p. Improperly allowed a nursing midwife to direct and supervise this labor;

            q. Failed to develop, promulgate, institute, or enforce rules, guidelines or policies and
               procedures with respect to care and management of patients undergoing labor and
               delivery;

            r. Failed to develop, promulgate, institute, or enforce safe and proper rules, guidelines
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              or policies and procedures with respect to care and management of patients with
              abnormal and/or prolonged labor;

          s. Failed to provide an obstetrician for the Plaintiff’ decedent to physically direct and
             supervise her labor;

          t. Improperly allowed a nursing midwife to the Plaintiff to physically direct and
             supervise her labor;

          u. Failed to supervise, direct, or oversee its employees, agents, or apparent agents
             during labor and delivery;

          v. Entrusted the care and treatment of decedent to incompetent, inadequately trained
             and/or unskilled nurses and/physicians;

          w. Failed to properly investigate and determine the competence, training and/or skill of
             members of its nursing and physician staff;

          x. Failed to provide competent and capable nursing and professional care and services
             to Plaintiff;



        42.       That as a direct and proximate cause of one or more of the foregoing acts of

negligence of Defendant, SWEDISH COVENANT HEALTH, SWEDISH COVENANT

HOSPITAL, SWEDISH COVENANT MANAGEMENT SERVICES, INC., through their

employees, agents, or apparent agents including but not limited to physicians, doctors, nurses,

nursing aides, midwives, techs, assistants, and/or staff, HOORAYN SAIYED, suffered severe and

permanent injuries which have caused great pain and suffering, disability, disfigurement, mental anguish,

and loss ofa normal life and will interfere with her ability in the future to obtain gainful employment and

hasforced her, and will continue to force her, to incur medical expenses.

          WHEREFORE, Plaintiff, AZHAR SAIYED, as Next Friend and Father of HOORAYN

  SAIYED, prays for judgment against the Defendants, SWEDISH COVENANT HEALTH,

  SWEDISH COVENANT HOSPITAL, and SWEDISH COVENANT MANAGEMENT, INC. and

  each of them in an amount in excess of $75,000 plus costs.


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                    COUNT VII (FAMILY EXPENSE ACT)
        UNITED STATES OF AMERICA, SWEDISH COVENANT HOSPITAL,
      SWEDISH COVENANT HEALTH, SWEDISH COVENANT MANAGEMENT
                            SERVICES, INC.



       The Plaintiff, AZHAR SAIYED, by his attorneys, PHILLIPS LAW OFFICES, for his

 complaint at law against the Defendants, UNITED STATES OF AMERICA, SWEDISH

 COVENANT HEALTH, SWEDISH COVENANT HOSPITAL, SWEDISH COVENANT

 MANAGEMENT SERVICES, INC., state as follows:


       1.        Plaintiff incorporates each and every Count of this Complaint herein as if fully set

forth herein.

       2.        As a direct and proximate result of one of the foregoing negligent acts and/or

omissions by the defendants, the Plaintiff, AZHAR SAIYED has and will in the future incur costs

and expenses pursuant to the Family Expense Act, 750 ILCS 65-15, in the care of his daughter,

HOORAYN SAIYED and for the care of MIKAZNAAZ SAIYED prior to her death.

3.          Attached hereto and made a part hereof is Plaintiff’s medical report pursuant to Section

 2-622 of the Illinois Code of Civil Procedure. (Exhibit B)

       WHEREFORE, the plaintiff, AZHAR SAIYED, asks this Court to enter judgment inhis

favor and against the Defendants, UNITED STATES OF AMERICA, SWEDISH COVENANT

HEALTH, SWEDISH COVENANT HOSPITAL, SWEDISH COVENANT MANAGEMENT

SERVICES, INC., and each of them in an amount commensurate with their past and future

medical and other expenses incurred for his daughter and wife, plus costs.




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                                      Respectfully submitted,

                                     _________________________________________________
                                       Attorneys for Plaintiff
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                                                                                                         Exhibit A
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                                                                                                               Exhibit B
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                                                             Exhibit C
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      Case:
       Case:1:20-cv-05524
              1:20-cv-05524
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                                  UNITED STATES DISTRICT
                                COURT NORTHERN DISTRICT OF
                                 ILLINOIS EASTERN DIVISION

     AHZAR SAIYED, individually and as               )
     Administrator of the Estate of MIKANZAAZ        )
     SAIYED, deceased, and Next Friend of            )
     HOORAYN SAIYED, a minor,                        )
                                                     )
                                  Plaintiffs,        )
                                                     )
                                                          No. 20 C 5524
                          v.                         )
                                                     )
                                                          Judge Dow
     UNITED STATES OF AMERICA,                       )
     SWEDISH COVENANT HOSPITAL,                      )
     SWEDISH COVENANT HEALTH,                        )
     SWEDITH COVENANT HEALTH                         )
     SERVICES INC,                                   )
                                                     )
                                  Defendants.        )

                                         AGREED ORDER
         THIS MATTER coming to be heard following the October 23, 2020 case management

 conference related to Defendant UNITED STATES OF AMERICA’S Motion to Dismiss for

 Failure to Exhaust Administrative Remedies (Dkt. 4), the Court being fully advised in the

 premises, it is HEREBY ORDERED:

1.      Plaintiff’s case against Defendant UNITED STATES of AMERICA only is dismissed

without prejudice and with an absolute right to refile. The remainder of the case against Defendants,

SWEDISH COVENANT HOSPITAL, SWEDISH COVENANT HEALTH, and SWEDISH

COVENANT HEALTH SERVICES, INC., is stayed until further order of Court as Plaintiff has

submitted his Form(s) 95 to government. Once the Plaintiff has exhausted his administrative

remedies, Plaintiff will file a new complaint against the UNITED STATES of AMERICA and move

to join the newly filed case with this case (2020 C 5524), at which time this Court will join the cases.



                                                                               Exhibit D
   Case:
    Case:1:20-cv-05524
           1:20-cv-05524
                       Document
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                                                  November 16, 2020

                                                  ENTERED:




                                                 JUDGE

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                               CERTIFICATE OF SERVICE

   I hereby certify that on October 4, 2021, I electronically filed the foregoing document with

the Clerk of the Court using the CM/ECF system which will send notification of such filing to

the CM/ECF participants registered to receive service.




                                     By:            /s/     _________________

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                                                    One of the Attorneys for the Plaintiff
